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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                          ORDER OF FORFEITURE

             - against -                           24-CR-490 (LDH)

 TIMOTHY MCCORMACK,

                           Defendant.

 – – – – – – – – – – – – – – – –X

               WHEREAS, on or about January 16, 2025, Timothy McCormack (the

 “defendant”), entered a plea of guilty to the offense charged in the Sole Count of the above-

 captioned Information, charging a violation of 18 U.S.C. § 1349; and

               WHEREAS, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

 the defendant has consented to the entry of a forfeiture money judgment in the amount of

 fifty-one thousand two hundred ninety-four dollars and zero cents ($51,294.00) (the

 “Forfeiture Money Judgment”), as any property, real or personal, constituting, or derived

 from, proceeds obtained directly or indirectly as a result of the defendant’s violation of 18

 U.S.C. § 1349, and/or a substitute asset, pursuant to 21 U.S.C. § 853(p).

               IT IS HEREBY ORDERED, ADJUDGED AND DECREED, on consent, by

 and between the United States and the defendant as follows:

               1.       The defendant shall forfeit to the United States the full amount of the

 Forfeiture Money Judgment, pursuant to 18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853(p), and

 28 U.S.C. § 2461(c).
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                2.     All payments made towards the Forfeiture Money Judgment shall be

 made by a money order, or certified and/or official bank check, payable to the U.S. Treasury

 with the criminal docket number noted on the face of the instrument. The defendant shall

 cause said payment(s) to be sent by overnight mail delivery to the Asset Recovery Section,

 United States Attorney’s Office, Eastern District of New York, 271-A Cadman Plaza East,

 Brooklyn, New York 11201. The Forfeiture Money Judgment shall be paid in full 30 days in

 advance of sentencing (the “Due Date”).

                3.     If the defendant fails to pay any portion of the Forfeiture Money

 Judgment on or before the Due Date, the defendant shall forfeit any other property of his up

 to the value of the outstanding balance, pursuant to 21 U.S.C. § 853(p), and further agrees

 that the conditions of 21 U.S.C. § 853(p)(1)(A)-(E) have been met.

                4.     Upon entry of this Order of Forfeiture (“Order”), the United States

 Attorney General or her designee is authorized to conduct any proper discovery in

 accordance with Fed. R. Crim. P. 32.2(b)(3) and (c). The United States alone shall hold title

 to the monies paid by the defendant to satisfy the Forfeiture Money Judgment following the

 Court’s entry of the judgment of conviction.

                5.     The defendant shall fully assist the government in effectuating the

 payment of the Forfeiture Money Judgment, by among other things, executing any

 documents necessary to effectuate any transfer of title to the United States. The defendant

 shall not file a claim or petition seeking remission or contesting the forfeiture of any property

 against which the government seeks to satisfy the Forfeiture Money Judgment in any

 administrative or judicial (civil or criminal) proceeding. The defendant shall not assist any

 person or entity to file a claim or petition seeking remission or contesting the forfeiture of
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 any property against which the government seeks to satisfy the Forfeiture Money Judgment

 in any administrative or judicial (civil or criminal) proceeding.

                6.     The defendant knowingly and voluntarily waives his right to any

 required notice concerning the forfeiture of the monies and/or properties forfeited hereunder,

 including notice set forth in an indictment or information. In addition, the defendant

 knowingly and voluntarily waives his right, if any, to a jury trial on the forfeiture of said

 monies and/or properties, and waives all constitutional, legal and equitable defenses to the

 forfeiture of said monies and/or properties, including, but not limited to, any defenses based

 on principles of double jeopardy, the Ex Post Facto clause of the Constitution, any applicable

 statute of limitations, venue, or any defense under the Eighth Amendment, including a claim

 of excessive fines.

                7.     The entry and payment of the Forfeiture Money Judgment is not to be

 considered a payment of a fine, penalty, restitution loss amount or a payment of any income

 taxes that may be due, and shall survive bankruptcy.

                8.     Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Order shall

 become final as to the defendant at the time of sentencing and shall be made part of the

 sentence and included in the judgment of conviction. This Order shall become the Final

 Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2). At that time, the monies

 and/or properties paid toward the Forfeiture Money Judgment shall be forfeited to the United

 States for disposition in accordance with the law.

                9.     This Order shall be binding upon the defendant and the successors,

 administrators, heirs, assigns and transferees of the defendant, and shall survive the

 bankruptcy of any of them.
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               10.    This Order shall be final and binding only upon the Court’s “so

 ordering” of the Order.

               11.    The Court shall retain jurisdiction over this action to enforce

 compliance with the terms of this Order and to amend it as necessary, pursuant to Fed. R.

 Crim. P. 32.2(e).

               12.    The Clerk of the Court is directed to send, by inter-office mail, two (2)

 certified copies of this executed Order to the United States Attorney’s Office, Eastern

 District of New York, Attn: Melissa Morello, FSA Law Clerk, 610 Federal Plaza, Central

 Islip, New York 11722.

 Dated: Brooklyn, New York
        ________________________, 2025

                                            SO ORDERED:


                                            ______________________________________
                                            HONORABLE LASHANN DEARCY HALL
                                            UNITED STATES DISTRICT JUDGE
                                            EASTERN DISTRICT OF NEW YORK




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